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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                    Southern District
                                                  __________  DistrictofofNew York
                                                                           __________


              Kathryn Townsend Griffin, et al.                     )
                             Plaintiff                             )
                                v.                                 )      Case No.   1:17-CV-05221-RJS/GRIFFIN
           Edward Christopher Sheeran, et al.                      )
                            Defendant                              )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Kathryn Townsend Griffing, et al.                                                                                   .


Date:          04/24/2023
                                                                                            Attorney’s signature


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